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     April 9, 2020

     The Honorable A. Kathleen Tomlinson
     United States Magistrate Judge
     United States District Court
     Eastern District of New York
     Long Island Courthouse
     100 Federal Plaza
     Central Islip, New York 11722

     Re:       Cory Terrell Jones v. Nassau County, et al.
               Docket No. 16-cv-1448 (JFB)(GRB)
               Our File No.: 1444-1726

     Dear Magistrate Judge Tomlinson,

     This office represents Police Officer Cousins in the above-referenced matter. We write to request an
     adjournment of the April 16, 2020 telephone conference. Upon receipt of Your Honor’s April 8, 2020
     scheduling order, I contacted the Nassau County Correctional Center to arrange for Plaintiff’s
     production and was advised by Sgt. Stephanie White that the facility is unable to schedule a call at this
     time. I followed up by speaking with Corrections Captain Michael Golio, who advised that the facility
     is operating with reduced staff and asked if we could reschedule the call until such time as the facility
     has additional resources so as to be able to produce inmates for non-emergency matters. I respectfully
     request the conference be adjourned for approximately 30 days, to a time convenient for the Court.
     That said, I remain available for the conference on April 16, 2020, should the Court so Order.

     I remain thankful for the Court’s devotion of time and resources to this matter.

     Respectfully submitted,

     BEE READY FISHBEINHATTER & DONOVAN, LLP

                     /S/
     By:       Andrew K. Preston, Esq.




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 AKP/mgf
 cc:  Cory Terrell Jones
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